         Case:18-03557-BKT13  Doc#:13 13Filed:08/01/18
                     STANDING CHAPTER                   Entered:08/01/18
                                         TRUSTEE ALEJANDRO               17:19:59
                                                              OLIVERAS RIVERA                                       Desc: Main
                                      Document
                                   REPORT           Page
                                            OF ACTION    1 of 3
                                                       TAKEN
                                                       MEETING OF CREDITORS
In re:
                                                                                                                                 30,673
JORGE LUIS ESTRADA COREANO                                              Case No.    18-03557-BKT
ELIZABETH COTTO CHINEA                                  Chapter 13      Attorney Name:      ROBERTO FIGUEROA CARRASQUILLO*

I. Appearances
                                                                            Date & Time:          8/1/2018 10:34:00AM
Debtor                       [ ]Present            [X] Absent
                                                                            []R          [X] NR     LV:   0.00
Joint Debtor                 [ ]Present            [X] Absent
                                                                            [X] This is debtor(s) 1 Bankruptcy filing.
Attorney for Debtor          [X] Present           [ ] Absent
                                                                            Creditors:
[ ] Prose
                                                                           Fondo Coop- Idalis Perez
[X] Appearing:       Roberto Figueroa Carrasquillo, Esq.



II. Oath Administered
            [ ] Yes                   [X] No




III. Plan

Date:       06/26/2018             Base:       $29,400.00   Payments 0 made out of 1 due.

Confirmation Hearing Date:            9/7/2018 2:30:00PM

Evidence of Pmt shown:




Attorney’s fees as per R. 2016(b)

      $3,000.00     - $281.00       = $2,719.00

IV. Status of Meeting

[ ] Closed          [ ] Not Held           [ ] Held/Continued

[ ] Held/Not Closed


[X] Continued

Continued Date:          8/9/2018 1:00:00PM

Comments:


[ ] M.T.D. to be filed by Trustee: Debtor(s) failed to: [ ] Appear: [ ] Commence payments

 [ ] Keep payments current [ ] does (do) not qualify as a debtor (§109):

 [ ] MTD Already filed, see Docket:

 [ ] Other:
         Case:18-03557-BKT13  Doc#:13 13Filed:08/01/18
                     STANDING CHAPTER                   Entered:08/01/18
                                         TRUSTEE ALEJANDRO               17:19:59
                                                              OLIVERAS RIVERA                                    Desc: Main
                                      Document
                                   REPORT           Page
                                            OF ACTION    2 of 3
                                                       TAKEN
                                                MEETING OF CREDITORS
In re:
                                                                                                                              30,673
JORGE LUIS ESTRADA COREANO                                         Case No.    18-03557-BKT
ELIZABETH COTTO CHINEA                            Chapter 13       Attorney Name:      ROBERTO FIGUEROA CARRASQUILLO*


                                                                                                             30,673   (Cont.)
                                         Trustee’s Report on Confirmation

                                                 [ ] FAVORABLE

                                                 [ ] UNFAVORABLE

[ ] Feasibility                                                    [ ] No provision for secured creditor(s)
[ ] Insufficiently funded
                                                                   [ ] Tax returns missing
[ ] Unfair discrimination
                                                                       [ ] State - years
[ ] Fails disposable income

[ ] Fails liquidation value test
                                                                      [ ] Federal - years
[ ] Insuarence quote



Pending/Items/ Documents:

[ ] DSO Recipient's Information                                               [ ] Monthly reports for the months



[ ] Evidence of being current with DSO                                      [ ] Public Liability Insurance

                                                                              [ ] Premises

[ ] Evidence of income                                                        [ ] Vehicle(s):

                                                                            [ ] Licenses issued by:
         Case:18-03557-BKT13  Doc#:13 13Filed:08/01/18
                     STANDING CHAPTER                   Entered:08/01/18
                                         TRUSTEE ALEJANDRO               17:19:59
                                                              OLIVERAS RIVERA                                      Desc: Main
                                      Document
                                   REPORT           Page
                                            OF ACTION    3 of 3
                                                       TAKEN
                                                   MEETING OF CREDITORS
In re:
                                                                                                                                     30,673
JORGE LUIS ESTRADA COREANO                                             Case No.    18-03557-BKT
ELIZABETH COTTO CHINEA                               Chapter 13        Attorney Name:      ROBERTO FIGUEROA CARRASQUILLO*

                                                   Trustee's objection to confirmation

                                                      [ ] Objection to Confirmation
                                                      [ ] Oral objection by creditor

Debtor's counsel requested continuance because debtors did not come as he got confused over the date of this

meeting. Request for continuance is granted. Counsel stated that debtor will make first payment within the next 48

hours.



NOTE: Schedule A/B does not disclose any real property, also, Schedule "J" does not disclose rent expense. Per

voluntary petition debtors' live in Buena Vista, Bayamon. Who is the owner(s) of the property where debtors' live?



1. OTHER:

a. Part 4.3 of the plan does not indicate whether attorney fees will be paid on a flat fee basis or by fee application.

b. Per claim 2-1 by Anderson Financial there is a 1996 Toyota Tercel that is not disclosed in Schedule A/B nor

disclosed as a transfer in SOFA.

c. Objection to exemption pursuant 522 (d)(2) used in excess of $1,756.00 over a 2004 Mazda 3.



2. DOES NOT PROVIDE FOR SECURED CREDITOR, §1325(a)(5):

a. COOP A/C Fonde Del Seguro (FONDO COOP) filed claims 4-1, 5-1, 6-1, 7-1, 8-1 and 9-1 all includes shares,

however, part 3.5 of the plan propose surrender only two times for this creditor. Plan needs to provide for each

individual claim.

b. Plan does not provide for secured creditor Anderson Financial claim 2-1.

The following party(ies) object(s) confirmation:




         s/Miriam Salwen                                                                            Date:      08/01/2018

         Trustee/Presiding Officer                                                                                        (Rev. 05/13)
